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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                         NORTHERN DIVISION
                             ___________

CLAUDIA L. HART,
CAROL S. STEINHAUS,                               Case No.
KARIN M. STULZ, and                               Hon.
MARGARET E. VROMAN,

             Plaintiffs,

vs.

NORTHERN MICHIGAN
UNIVERSITY, a public entity,

             Defendant.
                                     /
Raymond J. Sterling (P34456)
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                                   /

                 COMPLAINT AND JURY DEMAND

       Plaintiffs Claudia L. Hart, Carol S. Steinhaus, Karin M. Stulz, and

Margaret E. Vroman, by their attorneys, Sterling Attorneys at Law, P.C., for

their Complaint and Jury Demand against defendant submits the following:

                     JURISDICTIONAL ALLEGATIONS

       1.    Plaintiffs are individuals residing in Marquette, Michigan.
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      2.     Defendant Northern Michigan University (“NMU”) is a public

four-year university located in Marquette, Michigan and has an enrollment of

approximately 7,700 undergraduate and graduate students.

      3.     Plaintiffs bring this action pursuant to Sections 16(c) and 17 of the

Fair Labor Standards Act of 1938 (the “FLSA”), as amended, 29 USC 216(c)

and 217, to enforce the requirements of the Equal Pay Act of 1963 (the “EPA”),

codified as Section 6(d) of the FLSA, 29 USC 206(d), and the Elliott-Larsen

Civil Rights Act, MCL 37.2101, et seq.

      4.     Defendant is an employer, and plaintiffs are employees, as defined

by the FLSA, the EPA, and the Elliott-Larsen Civil Rights Act.

      5.     This Court has federal question jurisdiction of plaintiffs’ federal

claims under 28 USC 1331 because this action arises under the laws of the

United States.

      6.     This Court has supplemental jurisdiction over plaintiffs’ state law

claims under 28 USC 1367(a).

      7.     Venue is proper under 28 USC 1391(a)(2) and (b)(2) because the

unlawful employment actions giving rise to the claims occurred, and are still

occurring, in this district.

                           PROCEDURAL HISTORY

      8.     In September 2016, plaintiffs filed separate charges with the Equal

Employment Opportunity Commission (“EEOC”) alleging that NMU

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discriminated against them on the basis of their gender by paying them less than

their male counterparts in violation of the EPA and Title VII of the Civil Rights

Act of 1964 (“Title VII”).

      9.       Following an investigation into plaintiffs’ allegations, the EEOC

determined there is reasonable cause to believe that NMU violated the EPA and

Title VII.

      10.      On or about August 24, 2018, the EEOC notified plaintiffs and

NMU of its determination and gave NMU an opportunity to remedy its

discriminatory practices through the EEOC’s conciliation process.

      11.      Plaintiffs and NMU were unable to reach an agreement through the

EEOC’s conciliation process.

      12.      On or about December 18, 2018, the EEOC notified plaintiffs by

letter that their cases have been referred to the U.S. Department of Justice

(“DOJ”) for review to determine whether DOJ will bring a Title VII lawsuit on

their behalves.

      13.      The December 18th letter further stated that if the DOJ declines to

file suit against NMU after concluding its review, the DOJ will issue plaintiffs a

Right to Sue letter entitling them to sue under Title VII.

      14.      Upon information and belief, the DOJ is still reviewing plaintiffs’

allegations.



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      15.   While the DOJ review continues, plaintiffs have satisfied all

conditions precedent to proceed with their EPA and Elliott-Larsen claims.

                         GENERAL ALLEGATIONS

      16.   Plaintiff Claudia Hart began working at NMU in August 1981 and

is the longest-serving faculty member in the College of Business.

      17.   Plaintiff Hart currently holds the title of Professor in the College of

Business.

      18.   Plaintiff Carol Steinhaus began working at NMU in August 2001

and currently holds the title of Professor in the College of Business.

      19.   Plaintiff Karin Stulz began working at NMU in August 1989 and

currently holds the title of Associate Professor in the College of Business

      20.   Plaintiff Margaret Vroman began working at NMU in August 2008

and currently holds the title of Professor in the College of Business.

      21.   There are currently 22 faculty members in the College of Business

and 15 of them are males.

     Throughout their careers, plaintiffs performed the same job duties
          as their male counterparts but earned significantly less

      22.   Plaintiffs Hart, Steinhaus, and Vroman are the only female faculty

members in the College of Business with the rank of Professor and they currently

earn approximately 9% less than the male Professors on average.




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      23.      Plaintiff Stulz is the only female faculty member in the College of

Business with the rank of Associate Professor and she currently earns

approximately 39% less than the male Associate Professors on average.

      24.      In 2016, plaintiffs Hart and Steinhaus were the only female faculty

members in the College of Business with the rank of Professor and earned

approximately 15% less than the male Professors on average.

      25.      In 2016, plaintiff Vroman was the only female faculty member in

the College of Business with the rank of Associate Professor and earned

approximately 19.5% less than the male Associate Professors on average.

      26.      In 2016, plaintiff Stulz was the only female faculty member in the

College of Business with the rank of Assistant Professor and earned

approximately 71.5% less than the male Assistant Professors on average.

      27.      Over the last 12 years, the average male salary in the College of

Business significantly exceeds the average female salary across all ranks and

disciplines.

      28.      This pay disparity exists despite the fact that plaintiffs perform equal

work under similar conditions.

                          NMU’s gender discrimination
                       goes beyond unequal pay for plaintiffs

      29.      NMU’s College of Business has fostered an environment in which

male faculty members are treated better than female faculty members in regards

to the terms and conditions of their employment.
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      30.   NMU’s College of Business gives male faculty members preference

in choosing the classes they teach.

      31.   NMU’s College of Business treats male faculty better than female

faculty in terms of meeting qualifications for tenure.

      32.   NMU’s College of Business has a practice of awarding tenure track

positions to male faculty members instead of equally or more qualified female

faculty members.

      33.   When plaintiffs complained to NMU’s administration about gender

discrimination, several male faculty members and administrators, including Joel

Thompson and Dale Kapla, retaliated against plaintiffs by disparaging their

work, canceling their classes and programs, or increasing their workloads

without additional compensation.

                                      COUNT I

                 VIOLATIONS OF THE EQUAL PAY ACT

      34.   Plaintiffs incorporate the preceding paragraphs by reference.

      35.   The Equal Pay Act provides, in relevant part, that “No employer …

shall discriminate … between employees on the basis of sex by paying wages to

employees … at a rate less than the rate at which he pays wages to employees of

the opposite sex … for equal work on jobs the performance of which requires

equal skill, effort, and responsibility, and which are performed under similar

working conditions …” 29 USC 206(d)(1).

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      36.    Plaintiffs and their male counterparts perform jobs requiring equal

skill, effort, and responsibility.

      37.    Plaintiffs and their male counterparts perform their jobs under

similar working conditions.

      38.    Defendant pays a wage rate differential in violation of the Equal Pay

Act by paying plaintiffs less than their male counterparts.

      39.    Defendant knows that by paying plaintiffs less than their male

counterparts they are in violation of the Equal Pay Act and/or are acting in

reckless disregard of the Equal Pay Act.

      40.    As a direct and proximate result of defendant’s conduct, plaintiffs

have suffered, and continue to suffer, lost compensation and other incidental

and consequential damages, including attorney fees.

                                     COUNT II

               SEX DISCRIMINATION IN VIOLATION OF
               THE ELLIOTT-LARSEN CIVIL RIGHTS ACT

      41.    Plaintiffs incorporate the preceding paragraphs by reference.

      42.    Defendant discriminated against plaintiffs with respect to the terms,

conditions, and privileges of employment due to plaintiffs’ gender.

      43.    Defendant was predisposed to discriminate against plaintiffs based

on their gender and favored male faculty members over plaintiffs.

      44.    Plaintiffs’ gender was a factor in defendant’s decision to pay

plaintiffs less compensation than their male counterparts.
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      45.   Defendant’s     discrimination     adversely       affected   plaintiffs’

compensation, terms, conditions, and privileges of employment in violation of

the Elliott-Larsen Civil Rights Act, MCL 37.2101, et seq.

      46.   As a direct and proximate result of defendant’s conduct, plaintiffs

have suffered and will continue to suffer lost compensation, emotional distress,

and other incidental and consequential damages, including attorney fees.

      WHEREFORE, plaintiffs respectfully request that this Honorable Court

enter judgment against defendant, in whatever amount plaintiffs are found to be

entitled, together with punitive damages, equitable relief, interest as an element

of damages, statutory interest, and attorney fees and costs.

                               JURY DEMAND

      Plaintiffs Claudia L. Hart, Carol S. Steinhaus, Karin M. Stulz, and

Margaret E. Vroman, by their attorneys Sterling Attorneys at Law, P.C.,

demand a trial by jury.

                               Respectfully submitted,

                               STERLING ATTORNEYS AT LAW, P.C.

                               By:   /s/Raymond J. Sterling
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Dated: February 8, 2019



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